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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            Case No. 21-cv-22827-COOKE/O’SULLIVAN

      JOSE L. SANABRIA,

              Plaintiff,

      vs.

      QAC, LLC, doing business as EAGLE
      BRAND SALES,

            Defendant.
      ____________________________________/
                ORDER OF REFERRAL FOR SETTLEMENT CONFERENCE AND
                ORDER REGARDING COURT PRACTICES AND PROCEDURES
              THIS MATTER comes before the Court on the filing of a Complaint. To efficiently
      resolve this dispute, it is ORDERED as follows:
I.          EXPEDITED SERVICE
              It is ORDERED and ADJUDGED that, to expedite the processing of the action,
      Plaintiff will serve the Defendant with a copy of the summons and complaint within 60 days
      of the date of this Order. If Plaintiff is unable to do so, Plaintiff will provide an explanation
      to the Court as to the reason why Defendant has not been served within the allotted sixty days
      and will provide a detailed description of the attempts made to serve Defendant. Failure to
      comply with this Order may lead to immediate dismissal of this cause.
II.         COURT-MANDATED REQUIREMENTS IN FLSA-BASED CASES
              Plaintiff filed an action under the Fair Labor Standards Act, as amended, 29 U.S.C.
      §201 et seq. (“FLSA”), by which the Plaintiff seeks unpaid wages. To assist the Court in the
      management of the case, the Plaintiff is ORDERED to file with the Court a statement of
      claim setting forth the amount of the alleged unpaid wages, the calculation of such wages,
      and the nature of the wages (e.g. overtime or regular) within 21 days from the date of this Order.
      Also within that allotted time, the Plaintiff must serve a copy of this Order, the statement of
      claim, and copies of all documents supporting the claim (e.g. time slips, pay stubs) on the
      Defendant’s counsel. The Plaintiff must, on that same date, additionally file a notice of full
      compliance with this Order.
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               The Defendant, within 14 days of service of the Plaintiff’s statement of claim, is ORDERED
       to file with this Court a response to the Plaintiff’s statement and provide the Plaintiff with
       copies of all documents supporting its defenses. Concurrently, the Defendant must file a
       notice of full compliance with this Order.
               The Parties are hereby advised that this case will be on the Court's FLSA expedited-
       track calendar pursuant to which trial will be set nine months after the Plaintiff files the
       required statement of claim. Furthermore, barring the most extreme of compelling
       circumstances, the Court will not grant any motions for a continuance and/or extensions of time.
               Failure to comply with this Order may result in default, dismissal, and/or sanctions.
III.      REFERRAL OF CASE TO MAGISTRATE JUDGE
               This case is REFERRED to the Honorable John J. O’Sullivan, Chief United States
       Magistrate Judge for the Southern District of Florida, for appropriate resolution of all non-
       dispositive pretrial matters, as well as motions for attorney’s fees and costs and motions for
       sanctions, in accordance with 28 U.S.C. §§ 636(b)(1)(A) and (B). Motions in Limine and any
       motion affecting deadlines set by the Court's Scheduling Order are excluded from this referral, unless
       specifically referred by separate order.
               The Parties are notified that all subsequent pleadings bearing on matters referred to
       the Magistrate Judge must be so designated by setting forth beneath the case number the
       identity of the Magistrate Judge to which the matter has been referred and the date of the
       Order of Reference. Parties shall abide by Chief Magistrate Judge O’Sullivan’s Discovery
       Procedures Order appended to this Order as Attachment A.
               Moreover, this matter is REFERRED for purposes of a settlement conference before
       Judge O'Sullivan, to occur within fourteen (14) days of Defendant(s) filing its/their Response to
       Plaintiff’s Statement of Claim. Counsel shall confer and contact Judge O'Sullivan's Chambers
       prior to the due date for the response by Defendant(s) to Plaintiff’s statement of claim to
       schedule the settlement conference. Except as provided under Local Rule 16.2.E, the
       appearance of counsel and each party, or representatives of each party with full authority to
       enter into a full and complete settlement, is mandatory. Appearance shall be in person;
       telephonic appearance is prohibited absent court order. All discussions, representations, and
       statements made at the settlement conference shall be confidential and privileged.
IV.       MOTIONS, JOINT MOTIONS, MOTIONS TO DISMISS,                                         AMENDED
          PLEADINGS, AND MOTIONS FOR SUMMARY JUDGMENT
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 A. GENERAL INSTRUCTIONS REGARDING MOTIONS
         In addition to complying with Local Rule 7.1, any motion and accompanying
 memorandum of law will not exceed a combined length of twenty pages, all non-dispositive motions
 must be accompanied by a proposed order, and all motions, memoranda of law, proposed orders,
 and other documents created for the Court’s review will be uploaded from a PDF document created
 within MS Word (and not from a scanned PDF document). Finally, motions, memoranda of
 law, proposed orders, and other documents created for the Court’s review must adhere to the
 following specifications:
           1. 12 pt. Calisto MT font;
           2. One inch margins on all sides;
           3. 1/2 inch tab setting;
           4. 1.5 Line Spacing;
           5. Full Justified;
           6. Conforming to the exemplar order at Attachment E to this Order;
           7. Filed electronically with the corresponding motion; and
           8. In the case of proposed orders, e-mailed as a Microsoft Word (.doc) document to
               cooke@flsd.uscourts.gov. The subject line of the e-mail will include: (i) case
               number, (ii) case name, and (iii) docket entry number of the corresponding
               motion.
 B. JOINT MOTIONS
         Multiple Plaintiffs or Defendants shall file joint dispositive motions with co-Parties
 unless there are clear conflicts of positions or grounds for relief.
 C. MOTIONS TO DISMISS
         The filing of a baseless motion to dismiss may result in sanctions, including an award
 of attorneys’ fees. Should Defendant(s) file a motion to dismiss the complaint, the Parties
 shall meet and confer within five (5) days of service of the motion to determine whether
 Plaintiff(s) can resolve the issue by amending the complaint pursuant to Federal Rule of Civil
 Procedure 15(a)(1)(B). Any response in opposition to a motion to dismiss shall include a
 certification of compliance with this Order. Failure to meet and confer in good faith or
 otherwise comply with this order may result in sanctions, including dismissal of this action.
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            Failure to comply with the foregoing requirements may result in the motion being
     denied without prejudice.
     D. AMENDED PLEADINGS
          Amended pleadings shall be accompanied by a redline comparison of the original and
     amended pleading. A party need not file a redline comparison when amending as a matter of
     course pursuant to Federal Rule of Civil Procedure 15(a)(1).
     E. MOTIONS FOR SUMMARY JUDGMENT
            The Parties shall file unredacted copies of all record evidence submitted in support of
     their respective motions for summary judgment. Moreover, the record evidence in support of
     such motions shall be filed through a single Notice of Filing that must be labeled, “Record
     Evidence In Support of [Insert Party’s name]’s Motion for Summary Judgment”. Further, the
     record evidence submitted through these notices of filing shall be specifically labeled so that
     it is absolutely clear to the Court from the text of the docket what documents are being
     submitted as record evidence. Meaning that the Deposition of John Smith, for example, shall
     be labeled as “Ex. A, Deposition of John Smith” on the docket as opposed to the generic and
     unhelpful “Ex. A”. For purposes of resolving motions for summary judgment, the Court will
     only consider the evidence submitted in conformance with this Order. Therefore, should the
     Parties need to file documents under seal, then they must request leave of Court to do so well
     in advance of the deadline to file their respective motions for summary judgment.
            Failure to comply with the foregoing requirements may result in the motion being
     denied without prejudice.
V.      PHONE CALLS TO CHAMBERS
      1. The Parties may not call Chambers to ask about the status of pending motions, including
          motions for extension of time. The Court is aware of all pending motions and will
          address each of them in due course.
      2. The Parties may not call Chambers if the information the Parties seek, or seek to
          provide, can be conveyed through a filing on the docket.
      3. The Parties may not call Chambers if the information the Parties seek is available from
          other sources, including Court Orders and the Local Rules.
      4. If the Parties do call Chambers for a permissible purpose, counsel for all affected Parties
          must be on the line. Calls from non-attorneys and ex parte calls will not be accepted.
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 DONE and ORDERED in chambers, Miami, Florida, this 15th day of August 2021.




 Copies furnished to:
 John J. O’Sullivan, Chief U.S. Magistrate Judge
 Counsel of record
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                                           Attachment A


                          DISCOVERY PROCEDURE FOR
                  CHIEF MAGISTRATE JUDGE JOHN J. O'SULLIVAN

        The following discovery procedures apply to all civil cases assigned to United
 States District Judge Marcia G. Cooke.

         If parties are unable to resolve their discovery disputes without Court intervention,
  Chief Magistrate Judge John J. O'Sullivan will set the matter for a hearing. Discovery
  disputes are generally set for hearings on Tuesdays and Thursdays in the 5th Floor
  Courtroom, United States Courthouse, 301 N. Miami Avenue, Miami, Florida.

         If a discovery dispute arises, the moving party must seek relief within fifteen (15) days
  after the occurrence of the grounds for relief, by contacting Chief Magistrate Judge
  O'Sullivan’s Chambers and placing the matter on the next available discovery calendar.
  Chief Magistrate Judge O'Sullivan’s telephone number is (305) 523-5920.

          After a matter is placed on the discovery calendar, the movant shall provide notice
  to all relevant parties by filing a Notice of Hearing. The Notice of Hearing shall briefly
  specify the substance of the discovery matter to be heard and include a certification that
  the parties have complied with the pre-filing conference required by Southern District of
  Florida Local Rule 7.1(a)(3). The parties shall attach to their Notice of Hearing any
  requests for production, requests for admission and interrogatories that are in dispute.
  Generally, no more than ten (10) minutes per side will be permitted.

          No written discovery motions, including motions to compel and motions for
  protective order, shall be filed unless the parties are unable to resolve their disputes at the
  motion calendar, or unless requested by Chief Magistrate Judge O'Sullivan. It is the intent
  of this procedure to minimize the necessity of motions.

          The Court expects all parties to act courteously and professionally in the resolution
  of their discovery disputes and to confer in an attempt to resolve the discovery issue prior
  to setting the hearing. If the parties resolve their dispute prior to the hearing, the parties
  shall immediately call Chambers to cancel the hearing. The Court may impose sanctions,
  monetary or otherwise, if the Court determines discovery is being improperly sought or is
  not being provided in good faith.
